                     IN THE DISTRICT COURT OF THE UNITED STATES
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                 STATESVILLE DIVISION
                                      5:12cv103-RLV
                                  (5:09cr49-RLV-DCK-5)

DONALD BROOKS BRYSON,               )
                                    )
                        Petitioner, )
                                    )
            vs.                     )                          ORDER
                                    )
UNITED STATES OF AMERICA,           )
                                    )
                        Respondent. )
____________________________________)


          This matter is before the Court on Petitioner’s Notice of Voluntary Dismissal of his 28

U.S.C. § 2255 Motion to Vacate, filed as a letter from Petitioner to the Court dated October 12,

2012. See (Doc. No. 8). In the Letter, Petitioner states that he never intended to file a Motion to

Vacate, but that he had intended, instead, to file a motion to reduce sentence under 18 U.S.C. §

3621(e), based on the fact that he has completed a substance abuse treatment program while in

prison.

          Pursuant to Petitioner’s Notice, IT IS THEREFORE ORDERED that Petitioner’s 2255

Motion is DISMISSED without prejudice. Consequently, Respondent’s Motion to Dismiss,

(Doc. No. 6), is DENIED as moot.

          The Clerk of Court is instructed to close the case. Furthermore, the Clerk is directed to

docket the previously filed motion, (Doc. No. 1), as a Motion to Reduce Sentence pursuant to 18

U.S.C. § 3621(e), in Petitioner’s criminal case, 5:09-cr-49.




    Case 5:09-cr-00049-KDB-DCK              Document 338         Filed 10/15/12     Page 1 of 2
                                 Signed: October 15, 2012




Case 5:09-cr-00049-KDB-DCK   Document 338    Filed 10/15/12   Page 2 of 2
